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 2   ANNE PINGS
     Assistant U.S. Attorney
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 4   Telephone: (916) 554-2785
 5
 6
 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )
12                                 )        2:07-cr-0109-FCD
               Plaintiff,          )
13                                 )
               v.                  )        STIPULATION ORDER
14                                 )        SETTING HEARING DATE
     MARLENA JOHNSON,              )        FOR CHANGE OF PLEA
15                                 )
                    Defendant.     )
16   ______________________________)
17        It is hereby stipulated and agreed, by and between the
18   defendant Marlena Johnson, by and through her counsel, Danny D.
19
     Brace, and the United States, through its counsel, Assistant United
20
     States Attorney Anne Pings, to vacate the previously set trial
21
     confirmation hearing date of October 9, 2007, as to this defendant
22
     only, and to set a hearing date of October 22, 2007, at 10:00 a.m.
23
     for change of plea by this defendant.
24
          Defendant Johnson has expressed her intent to enter a plea of
25
26   guilty pursuant to an agreement with the United States.          The parties

27   need additional time to prepare the written agreement and to

28   finalize its terms.   Counsel for the defendant will use the


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 1   additional time to review the discovery files, discuss the
 2   parameters and consequences of a plea with Ms. Johnson, and to
 3   conduct any necessary factual investigation necessary in order to
 4   finalize the agreement.
 5
          The proposed date of October 22, 2007, is the Court’s first
 6
     regularly-scheduled calendar date compatible with the availability
 7
     of Ms. Johnson’s counsel.    The availability of the date has been
 8
     verified with the Court's clerk.
 9
          The parties agree that the Court should find that time should
10
     be excluded under the Speedy Trial Act, 18 U.S.C. § 3161(h)(8)(iv)
11
12   (preparation of counsel) in that the ends of justice served by

13   allowing defendant's counsel time to conduct investigation in a

14   manner he believes necessary to provide effective representation in

15   advising his client of the terms and consequences of a guilty plea
16   outweigh the best interest of the public and the defendant in a
17   speedy trial.
18   DATED: October 5, 2007                 Respectfully submitted,
19
                                            McGREGOR W. SCOTT
20                                          United States Attorney

21                                          /s/ Anne Pings
22                                          ANNE PINGS
                                            Assistant United States Attorney
23
24
                                            /s/ Anne Pings
25
                                            For Danny D. Brace
26                                          Counsel for Defendant Johnson
          IT IS SO ORDERED.
27
28   Dated: October 5, 2007


                                   _______________________________________
                                   FRANK C. DAMRELL, JR.
                                   UNITED STATES DISTRICT JUDGE
